           Case 2:09-cr-00244-WBS Document 115 Filed 06/09/11 Page 1 of 2


1    DINA L. SANTOS, Bar #204200
     Attorney at Law
2    428 J Street, 3rd Floor
     Sacramento, California 95814
3    Telephone: (916) 447-0160
4
5    Attorney for Defendant
     FRANCISCO RAMIREZ-SANCHEZ
6
7
                         IN THE UNITED STATES DISTRICT COURT
8
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10
11
     UNITED STATES OF AMERICA,           )   No. 2:09-cr-00244-MCE
12                                       )
                     Plaintiff,          )
13                                       )   STIPULATION AND ORDER RESETTING
          v.                             )   J&S DATE
14                                       )
     FRANCISCO RAMIREZ-SANCHEZ,          )
15   MIGUEL CORONA LOZANO,               )   Date: June 23, 2011
     ADRIAN NEGRETE ANDRADE,             )   Time: 9:00 a.m.
16   ANTONIO RAMIREZ-SANCHEZ,            )   Judge: Honorable Judge England
     JORGE CORONA RAMIREZ                )
17                  Defendants.
18   _______________________________
19        IT IS HEREBY STIPULATED by and between Assistant United States Attorney

20   Todd Leras, Counsel for Plaintiff, and Attorney Dina L. Santos, Counsel for

21   Defendant Francisco Ramirez-Sanchez; Attorney Gilbert Roque for Miguel Corona

22   Lozano; Attorney Fred Dawson for Adrian Negrete Andrade; Attorney Charles

23   Bauer for Antonio Ramirez-Sanchez; Attorney Erin Radekin for Jorge Corona

24   Ramirez, that the Judgement and Sentencing date scheduled for June 9, 2011,

25   be vacated and the matter be continued to this Court's criminal calendar on

26   June 23, 2011, at 9:00 a.m, for judgement and sentencing.

27        This continuance is a joint request to allow the prosecutor to further

28   assess the 5k reduction.
           Case 2:09-cr-00244-WBS Document 115 Filed 06/09/11 Page 2 of 2


1         The Court is advised that all counsel have conferred about this request,

2    that they have agreed to the June 23, 2011 date, and that all counsel have

3    authorized Ms. Santos to sign this stipulation on their     behalf.

4         IT IS SO STIPULATED.

5    Dated: June 7, 2011                     /S/ Dina L. Santos
                                            DINA L. SANTOS
6                                           Attorney for Defendant
                                            FRANCISCO RAMIREZ-SANCHEZ
7
8    Dated: June 7, 2011                     /S/ Todd Leras
                                            TODD LERAS
9                                           Assistant United States Attorney
                                            Attorney for Plaintiff
10
11   Dated: June 7, 2011                     /S/ Gilbert Roque
                                            GILBERT ROQUE
12                                          Attorney for Defendant
                                            MIGUEL CORONA LOZANO
13
     Dated: June 7, 2011                     /S/ Fred Dawson
14                                          FRED DAWSON
                                            Attorney for Defendant
15                                          ADRIAN NEGRETE ANDRADE

16   Dated: June 7, 2011                     /S/ Charles Bauer
                                            CHARLES BAUER
17                                          Attorney for Defendant
                                            ANTONIO RAMIREZ-SANCHEZ
18
     Dated: June 7, 2011                     /S/ Erin Radekin
19                                          ERIN RADEKIN
                                            Attorney for Defendant
20                                          JORGE CORONA-RAMIREZ

21
22                                      O R D E R

23        IT IS SO ORDERED.

24
     Dated: June 8, 2011
25
26                                        _____________________________
                                          MORRISON C. ENGLAND, JR.
27
                                          UNITED STATES DISTRICT JUDGE
28


                                             2
